Case 1:18-cr-00204-NGG-VMS Document 1049-1 Filed 06/25/21 Page 1 of 51 PageID #:
                                  19791




                   EXHIBIT 1
Case 1:18-cr-00204-NGG-VMS Document 1049-1 Filed 06/25/21 Page 2 of 51 PageID #:
                                  19792




  Document Filed Under
         Seal
Case 1:18-cr-00204-NGG-VMS Document 1049-1 Filed 06/25/21 Page 3 of 51 PageID #:
                                  19793




                   EXHIBIT 2
Case 1:18-cr-00204-NGG-VMS Document 1049-1 Filed 06/25/21 Page 4 of 51 PageID #:
                                  19794
Case 1:18-cr-00204-NGG-VMS Document 1049-1 Filed 06/25/21 Page 5 of 51 PageID #:
                                  19795
Case 1:18-cr-00204-NGG-VMS Document 1049-1 Filed 06/25/21 Page 6 of 51 PageID #:
                                  19796
Case 1:18-cr-00204-NGG-VMS Document 1049-1 Filed 06/25/21 Page 7 of 51 PageID #:
                                  19797
Case 1:18-cr-00204-NGG-VMS Document 1049-1 Filed 06/25/21 Page 8 of 51 PageID #:
                                  19798
Case 1:18-cr-00204-NGG-VMS Document 1049-1 Filed 06/25/21 Page 9 of 51 PageID #:
                                  19799



                                                      Sincerely,




                                       6
Case 1:18-cr-00204-NGG-VMS Document 1049-1 Filed 06/25/21 Page 10 of 51 PageID #:
                                   19800




                    EXHIBIT 3
Case 1:18-cr-00204-NGG-VMS Document 1049-1 Filed 06/25/21 Page 11 of 51 PageID #:
                                   19801




   Document Filed Under
          Seal
Case 1:18-cr-00204-NGG-VMS Document 1049-1 Filed 06/25/21 Page 12 of 51 PageID #:
                                   19802




                    EXHIBIT 4
Case 1:18-cr-00204-NGG-VMS Document 1049-1 Filed 06/25/21 Page 13 of 51 PageID #:
                                   19803
Case 1:18-cr-00204-NGG-VMS Document 1049-1 Filed 06/25/21 Page 14 of 51 PageID #:
                                   19804
Case 1:18-cr-00204-NGG-VMS Document 1049-1 Filed 06/25/21 Page 15 of 51 PageID #:
                                   19805
Case 1:18-cr-00204-NGG-VMS Document 1049-1 Filed 06/25/21 Page 16 of 51 PageID #:
                                   19806
Case 1:18-cr-00204-NGG-VMS Document 1049-1 Filed 06/25/21 Page 17 of 51 PageID #:
                                   19807




                    EXHIBIT 5
Case 1:18-cr-00204-NGG-VMS Document 1049-1 Filed 06/25/21 Page 18 of 51 PageID #:
                                   19808



  To the Honorable Judge Garaufis:

         My name is                 , I am Allison Mack’s younger sister.




                                              . She was also an inspiration to me as a performer,
  and would fly to and from California to buy tickets to my performances with children’s theater
  groups. While I didn’t keep in touch with her much in my younger years, she supported me by
  showing up, despite maintaining a busy professional life in another country or state. Her life was
  often pulled in many directions, but she worked to give us the time she could. I recall once, when
  I and my parents went out for Mother’s Day, our mother received a phone call from Allison,
  telling her she was in London but wished her a happy day. She then appeared, holding her cell
  phone, a few yards away, and gave our mother the greatest surprise, spending the day celebrating
  with us.

          Allison has always been deeply passionate about hard work and supportive relationships,
  and developed many friendships with her coworkers. Some of these friendships were carried
  over into her involvement with Nxivm, as she believed the work she could accomplish with
  Nxivm was a means of uplifting those around her. Her outreach into the community through
  Nxivm was approached with sensitivity and compassion; in the time she worked for Nxivm, I
  observed her extolling messages of kindness and encouragement, carrying with that message a
  strong commitment to ethical standards of responsibility and staying true to one’s word.

          In the years since her arrest, Allison has reconnected with old friends, and bonded deeply
  with new ones. These friendships have borne her through a dark period of struggle and self-
  reflection. She continues to meet this generosity of spirit with boundless care and guardianship
  of the people in her life. She maintains regular visits with her church group, her friendship circle,
  their children, and our own family members. She is an extremely ardent and driven student, and
Case 1:18-cr-00204-NGG-VMS Document 1049-1 Filed 06/25/21 Page 19 of 51 PageID #:
                                   19809



  continues to develop close ties and friendships with mentors and professors she encounters on
  her way.

           Since her arrest, I personally have witnessed nothing short of a transformation in my
  sister’s soul. Her best traits have become her greatest undertaking.

                                                                                  However,
  since her withdrawal from Nxivm, my sisterhood with her has reached new levels of honesty,
  bond, and a mutual foundation for growth.

           Now more than ever, she is staunchly committed to her role as my elder sister: she
  always provides a listening ear when I struggle, and is ready with a word of advice or caution,
  born out of decades of travel, hard work, and her own struggles. I often reflect on her arrest as a
  blessing in disguise: never in my life have I felt so deeply immersed in sisterhood as I do now.
  She is an invaluable member of our family, and is unafraid to speak truth when we need to hear
  it. Her indomitable thirst for responsible, honest, compassionate living permeates every
  interaction she has and every challenge she undertakes. Allison strives for a softer, kinder, more
  accountable lifestyle.

          Allison’s professional acting career allowed her the means to support our family
  financially as well. Time and time again she has encouraged her siblings’ pursuits. To me, she
  gifted four years of education at the
                                                                                  Allison also
  personally funded                                                   . These contributions lifted an
  immense financial burden from our parents, and allowed our growing family to flourish
  professionally, as well as personally. To my mind, this speaks to Allison’s belief in the power of
  education, and the growth possible through challenge.

          Allison’s commitment to her family does not stop at financial support, however. Since
  her arrest, and the dissolution of the life she led, she has turned to us, and to her friends, to
  recover and grow towards being a more productive and altruistic member of society.

                                                                  The time spent living with and
  near our family has breathed new life into the household. She is an avid cook and baker, and is
  always delighting our parents in the kitchen.




                                                                                              .
  Most recently, I have seen Allison, like our mother before her, becoming a lynchpin between our
Case 1:18-cr-00204-NGG-VMS Document 1049-1 Filed 06/25/21 Page 20 of 51 PageID #:
                                   19810



  respective households. She spends time with them, helps where she can, and brings us all
  together weekly for meals, family parties, and personal time with our nephews. From my
  perspective, this new relationship closely mirrors that of the deep sibling connection of our
  collective childhood, renewed.

          Allison’s attempts to repair relationships extend into her faith, as well, as she has
  connected with old and new friends now involved in their shared church. She approaches this
  faith-based relationship with frankness, remaining open about the mistakes of her past, especially
  her time with Nxivm, and never bringing judgements of her own to any discussion. She remains
  humbled by these mistakes, and has shared with me the remorse she feels for the harm she
  caused under Keith Raniere’s guidance.

         Most recently, in Allison’s first year at Berkeley,




         We have observed paparazzi and stalkers outside our family home throughout the trial
  process, particularly in the wake of several recent Nxivm-related documentaries and articles.

                                                                                    The family
  follows my sister’s example, holding hope for kindness and true friendship, and graciously
  absorbing the attacks of those who do not know her true worth.

           In my own time spent with Allison, I have noted a deep sense of shame in her heart. She
  is utterly direct about the mistakes she has made, and the damaging consequences. Rather than
  attempt to go back, or to justify or excuse these choices, Allison instead remains committed to
  her path to rehabilitation. The greatest impression she leaves is that she wishes to improve
  herself everyday, and to start afresh with new connections, accountability, and an education that
  challenges her to greater heights of intellect and contribution to her community and to her
  family.

  Thank you,
Case 1:18-cr-00204-NGG-VMS Document 1049-1 Filed 06/25/21 Page 21 of 51 PageID #:
                                   19811




                    EXHIBIT 6
Case 1:18-cr-00204-NGG-VMS Document 1049-1 Filed 06/25/21 Page 22 of 51 PageID #:
                                   19812
Case 1:18-cr-00204-NGG-VMS Document 1049-1 Filed 06/25/21 Page 23 of 51 PageID #:
                                   19813
Case 1:18-cr-00204-NGG-VMS Document 1049-1 Filed 06/25/21 Page 24 of 51 PageID #:
                                   19814




                    EXHIBIT 7
Case 1:18-cr-00204-NGG-VMS Document 1049-1 Filed 06/25/21 Page 25 of 51 PageID #:
                                   19815




   Document Filed Under
          Seal
Case 1:18-cr-00204-NGG-VMS Document 1049-1 Filed 06/25/21 Page 26 of 51 PageID #:
                                   19816




                    EXHIBIT 8
Case 1:18-cr-00204-NGG-VMS Document 1049-1 Filed 06/25/21 Page 27 of 51 PageID #:
                                   19817
Case 1:18-cr-00204-NGG-VMS Document 1049-1 Filed 06/25/21 Page 28 of 51 PageID #:
                                   19818
Case 1:18-cr-00204-NGG-VMS Document 1049-1 Filed 06/25/21 Page 29 of 51 PageID #:
                                   19819




                    EXHIBIT 9
Case 1:18-cr-00204-NGG-VMS Document 1049-1 Filed 06/25/21 Page 30 of 51 PageID #:
                                   19820
Case 1:18-cr-00204-NGG-VMS Document 1049-1 Filed 06/25/21 Page 31 of 51 PageID #:
                                   19821
Case 1:18-cr-00204-NGG-VMS Document 1049-1 Filed 06/25/21 Page 32 of 51 PageID #:
                                   19822




                    EXHIBIT 10
Case 1:18-cr-00204-NGG-VMS Document 1049-1 Filed 06/25/21 Page 33 of 51 PageID #:
                                   19823
Case 1:18-cr-00204-NGG-VMS Document 1049-1 Filed 06/25/21 Page 34 of 51 PageID #:
                                   19824
Case 1:18-cr-00204-NGG-VMS Document 1049-1 Filed 06/25/21 Page 35 of 51 PageID #:
                                   19825
Case 1:18-cr-00204-NGG-VMS Document 1049-1 Filed 06/25/21 Page 36 of 51 PageID #:
                                   19826




                    EXHIBIT 11
Case 1:18-cr-00204-NGG-VMS Document 1049-1 Filed 06/25/21 Page 37 of 51 PageID #:
                                   19827
Case 1:18-cr-00204-NGG-VMS Document 1049-1 Filed 06/25/21 Page 38 of 51 PageID #:
                                   19828


  seek to own this with a clear mind and a commitment to taking responsibility. I have seen her creating a
  new life, out of the shadow of the old. For this reason, I wanted to write a letter, because she has been a
  good and honest friend to my wife, and to me. I count her a friend and I trust what she has walked
  through and who she has become.

  Thank you,
  Sincerely,
Case 1:18-cr-00204-NGG-VMS Document 1049-1 Filed 06/25/21 Page 39 of 51 PageID #:
                                   19829




                    EXHIBIT 12
Case 1:18-cr-00204-NGG-VMS Document 1049-1 Filed 06/25/21 Page 40 of 51 PageID #:
                                   19830




   Document Filed Under
          Seal
Case 1:18-cr-00204-NGG-VMS Document 1049-1 Filed 06/25/21 Page 41 of 51 PageID #:
                                   19831




                    EXHIBIT 13
Case 1:18-cr-00204-NGG-VMS Document 1049-1 Filed 06/25/21 Page 42 of 51 PageID #:
                                   19832




  Dear Judge Garaufis:




  I met Allison Mack approximately one year ago through her mother,

                                                      Initially I saw Allison about once a week,
  when           and I met (socially-distanced) outside in her yard to practice recorder and then to
  visit. Allison would often join us before or after our practice sessions, and she and I began to
  develop a relationship. I loaned her books, and we often enjoyed sharing ideas. A few months
  ago Allison asked me if I would be willing to work with her in Spiritual Direction, and I agreed.

  Spiritual Direction is less “direction” in the sense of film-making than “facilitation.” The role of
  a spiritual director is to help the directee to feed the spiritual hunger within – honoring her
  own journey (it is her journey, after all, and not mine) and her own needs. Our time together
  has focused on:


     •   A look at the shame and embarrassment of having given herself over so completely to
         another’s dominance and control in the quest of the spiritual freedom she had been
         seeking (a shame and embarrassment not only because of the greater personal and
         legal ramifications, but also as evidenced through the hostility and shunning by some of
         her classmates at Berkeley when they recognize her name), and how to avoid such a
         thing from ever happening again;



     •   The importance of “light” – of the need to share the journey, not to have it controlled
         and “corrected,” but as a reality check: Does this really do what I want it to do? Take
         me where I want to go? Do others see what I am seeing? Is it possible I am wrong, that
         I am mistaken or mis-perceiving? Can the observations, questions, challenges of others
         help me to refine my own perceptions, move forward in a healthier, deeper way?
         Corollaries of this approach, of course, involve seeking out a diversity of opinions from
         trusted associates (to prevent “confirmation bias”) and “no secret-keeping,” with an
         understanding of the destructive power of secrets, of things you have to hide because
         “others won’t understand.”
Case 1:18-cr-00204-NGG-VMS Document 1049-1 Filed 06/25/21 Page 43 of 51 PageID #:
                                   19833




     •   A recognition that she is the agent in her relationship with God: she will, may, must use
         resources available to her, but ultimately she is the determinant of the scaffolding of her
         life; she does not inherit another’s ready-made edifice or schemata. She explores,
         questions, tries on, evaluates, and then embraces and integrates the practices which
         enhance her relationship with God.


  I have found Allison to be a willing and eager learner and a committed participant in her
  journey on a healthy spiritual path.

  Sincerely,
Case 1:18-cr-00204-NGG-VMS Document 1049-1 Filed 06/25/21 Page 44 of 51 PageID #:
                                   19834




                    EXHIBIT 14
Case 1:18-cr-00204-NGG-VMS Document 1049-1 Filed 06/25/21 Page 45 of 51 PageID #:
                                   19835
Case 1:18-cr-00204-NGG-VMS Document 1049-1 Filed 06/25/21 Page 46 of 51 PageID #:
                                   19836
Case 1:18-cr-00204-NGG-VMS Document 1049-1 Filed 06/25/21 Page 47 of 51 PageID #:
                                   19837




                    EXHIBIT 15
Case 1:18-cr-00204-NGG-VMS Document 1049-1 Filed 06/25/21 Page 48 of 51 PageID #:
                                   19838



  The Honorable Nicholas G. Garaufis
  United States Courthouse
  225 Cadman Plaza East
  Brooklyn, NY 11201

  Dear Judge Garaufis:
  My name is
                                              .

  We have been good friends ever since.
  I do not know how I can possibly put into written word what 22 years of friendship has meant to
  me, but I know I must try in light of my friend Allison’s current circumstances.
  In short, Allison has been one of the truest, bluest associations of my life.
  I cannot say she has always made the best choices, but she has always followed her curiosity,
  enthusiasm and heart to the maximum, living life at full throttle without the intention of hurting or
  offending anyone.
  We have remained close friends through her arrest and the years following while she has been on
  house arrest, and in my humble opinion, imprisonment would serve no purpose, or make her any
  more remorseful for her stumbles than she already is.
  Allison is one of the most generous, intelligent and talented humans I have known in my
        , and I can honestly say she is one of the very few people that I trust implicitly.
  I have watched the HBO series, read much of the reporting about the NXIVM situation, and
  although it has confused the hell out of me, and been the root of incredible personal angst, I do not
  believe that Allison’s motivation was anything other than loving, albeit incredibly naive.
  She truly is a great friend to me.
  Sincerely,
Case 1:18-cr-00204-NGG-VMS Document 1049-1 Filed 06/25/21 Page 49 of 51 PageID #:
                                   19839




                    EXHIBIT 16
Case 1:18-cr-00204-NGG-VMS Document 1049-1 Filed 06/25/21 Page 50 of 51 PageID #:
                                   19840


  To those who have been harmed by my actions,

         To this date, it has been over three years since I last communicated with most of you.

  This period of isolation has been the most devastating, but transformative time of my life.

  Because of the court's decision to allow me to remain on home-confinement, I have had the

  opportunity to be alone with my thoughts in the most supportive and loving environment. Such

  an opportunity has offered me the time and strength I needed to confront the darkest parts of

  myself and come to terms with the pain my actions have inflicted on so many people I love,

  which is the reason for this letter. It is now of paramount importance to me to say, from the

  bottom of my heart, I am so sorry. I threw myself into the teachings of Keith Rainire with

  everything I had. I believed, whole-heartedly, that his mentorship was leading me to a better,

  more enlightened version of myself. I devoted my loyalty, my resources, and, ultimately, my life

  to him. This was the biggest mistake and greatest regret of my life.

         I am sorry to those of you that I brought into Nxivm. I am sorry I ever exposed you to the

  nefarious and emotionally abusive schemes of a twisted man. I am sorry that I encouraged you

  to use your resources to participate in something that was ultimately so ugly. I do not take lightly

  the responsibility I have in the lives of those I love and I feel a heavy weight of guilt for having

  misused your trust, leading you down a negative path. I am sorry to those of you whom I spoke

  to in a harsh or hurtful way. At the time, I believed I was helping. I believed in tough love and

  thought it was the path to personal empowerment. I was so confused. I never want to be

  someone who is considered mean, but those aspects of my humanity have been revealed in all

  of this; it has been devastating to reconcile.

         I have experienced overwhelming shame as I have worked to accept and understand all

  that went on and all that I chose. There were times I was not sure I would make it through this

  alive, the pain was so crippling. That said, I know that coming out the other side, I am a better,

  kinder woman because of this. I know I cannot heal the pain my betrayal has caused to you and
Case 1:18-cr-00204-NGG-VMS Document 1049-1 Filed 06/25/21 Page 51 of 51 PageID #:
                                   19841


  your loved ones, but I can promise you that your hurt has not gone unseen and acknowledging

  this has changed me to my core.

            I also want to apologize to all the friends and loved ones I have hurt throughout this

  process who were not involved in Nxivm. I know many of you fought hard to show me the truth

  about Nxivm and Keith, but I didn't listen. I pushed you away and silenced myself toward you

  when you were trying to save my life. I am sorry I was so stubborn. I am sorry I was blind to

  your care and deaf to your pleas. I wish with everything in me that I had chosen differently, but I

  cannot change the past. I lied to you, again and again, in order to protect the delusion I was so

  deeply committed to believing. I know that the sacred trust I broke cannot be reinstated without

  forgiveness and a significant passage of time. While I desperately miss my friends, I understand

  if you choose not to invest in a future that includes me. However, I hope you will accept this

  sincere apology and know that I will hold all of you close to my heart for the rest of my life, even

  if we never speak again.

            The list of those harmed by the collateral damage of my destructive choices continues to

  grow as I become more and more aware of how my choices have affected those around me. I

  am grateful that I have made it through this process alive and that I was stopped when I was. I

  have the court, my family, my therapist, and a few amazing friends to thank for this. Please

  know that I am dedicated to spending my life working to mend the hearts I broke and continuing

  to transform myself into a more loving and compassionate woman. Thank you for taking the

  time to read this letter. I hope it offers at least a little bit of peace and closure as this horrific

  chapter comes to an end.


  Allison
